 1                                                               HON. JUDGE RICHARD A. JONES

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 6                          UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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 8     CHRISTOPHER RICHARD CHAPIN,
                                                         No. 2:19-cv-01256
 9                   Plaintiff,
                                                         DECLARATION OF MCKEAN J.
10     v.                                                EVANS IN SUPPORT OF CHAPIN’S
                                                         OPPOSITION TO PRUDENTIAL’S
11     THE PRUDENTIAL INSURANCE                          MOTION FOR AMENDED OR
       COMPANY OF AMERICA, MICROSOFT                     ADDITIONAL FINDINGS AND TO
12     CORPORATION, and the MICROSOFT                    ALTER OR AMEND JUDGMENT
       CORPORATION WELFARE PLAN,
13

14                   Defendants.

15

16          MCKEAN J. EVANS makes the following declaration based on personal knowledge:

17          1.      I am over 18 years of age. I am competent to testify. The facts contained in this
18   Declaration are based on my personal knowledge, unless stated otherwise.
19
            2.      I am the attorney representing Plaintiff Chapin in this matter.
20
            3.      Attached hereto as Exhibit A are Prudential’s Fed. R. Civ. P. 26(a)(1) initial
21
     disclosures in this lawsuit.
22
            I declare under penalty of perjury of the laws of the State of Washington and the
23
     laws of the United States of America that the foregoing is true and correct.
24
            Dated May 3, 2021, at Seattle, Washington.
25

                                                                          R U I Z & S M A R T P L LC
                                                                              1200 Fifth Ave., Ste. 1220
      DECLARATION OF MCKEAN J. EVANS;                                            Seattle, WA 98101
      (No. 2:19-cv-01256) - 1                                           Tel. 206‐203‐9100 Fax 206‐785‐1702
 1

 2        s/ McKean J. Evans
          MCKEAN J. EVANS
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     DECLARATION OF MCKEAN J. EVANS;            Seattle, WA 98101
     (No. 2:19-cv-01256) - 2           Tel. 206‐203‐9100 Fax 206‐785‐1702
EXHIBIT A
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 7                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9   CHRISTOPHER RICHARD CHAPIN,
10                      Plaintiff,                         Civil Action No. 2:19-cv-01256
11            v.                                           DEFENDANT PRUDENTIAL’S RULE
                                                           26(A)(1) INITIAL DISCLOSURES
12   THE PRUDENTIAL INSURANCE
     COMPANY OF AMERICA, MICROSOFT
13   CORPORATION, and the MICROSOFT
     CORPORATION WELFARE PLAN,
14
                        Defendants.
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16            Defendant, The Prudential Insurance Company of America (“Prudential”), by and

17   through its undersigned counsel, and pursuant to Rule 26(a)(1) of the Federal Rules of Civil

18   Procedure, submits the following Initial Disclosures:

19            This case involves, in part, a claim brought pursuant to the Employee Retirement Income

20   Security Act (“ERISA”), 29 U.S.C. § 1001, et seq., for long-term disability benefits under the

21   Microsoft Corporation Welfare Plan. As to that claim, Prudential asserts that the parties are not

22   entitled to any discovery beyond the confines of the administrative record, which Prudential will

23   disclose to Plaintiff. Further, Prudential objects to providing these disclosures as to claims that

24   are exempt from the requirement of initial disclosures, and Prudential provides these disclosures

25   subject to and without waiving that objection. The parties have not agreed to any discovery

26   beyond the administrative record with respect to Plaintiff claim for long-term disability benefits,
                                                                                   SEYFARTH SHAW LLP
                                                                                  233 SOUTH WACKER DRIVE
     DEFENDANT’S RULE 26(A)(1) INITIAL DISCLOSURES - 1                                   SUITE 8000
                                                                                 CHICAGO, ILLINOIS 60606-6448
                                                                                       (312) 460-5000

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 1   and the Court has not ordered any such discovery. Prudential reserves the right to supplement

 2   these disclosures in the event that the parties agree to discovery beyond the administrative

 3   record, or the Court orders such discovery.

 4            Plaintiff has also brought a state common law claim for negligence against Prudential

 5   relating to Prudential’s administration of Plaintiff’s claim for short-term disability (“STD”)

 6   benefits under Microsoft Corporation’s Short-Term Disability Policy (the “STD Policy”).

 7   Prudential provides these disclosures solely for Plaintiff’s negligence claim relating to his STD

 8   benefits. By providing any information pursuant to any provision of FED. R. CIV. P. 26(a)(1),

 9   Prudential does not concede the materiality of the subject to which it refers. Prudential’s initial

10   disclosures are made expressly subject to, and without waiving or intending to waive, any

11   questions or objections as to the competency, relevancy, materiality, privilege, or admissibility as

12   evidence or for any other purpose, of any of the information produced or identified in any

13   proceeding including the trial of this action or any subsequent proceeding. By identifying

14   categories of documents or information, Prudential in no way waives or intends to waive any

15   privilege that may apply to any document or item of information within those categories.

16            Prudential’s investigation of the claims, potential counterclaims, and defenses in this

17   matter is continuing. Prudential therefore reserves the right to supplement these disclosures at a
18   future date. Prudential also reserves the right to use at trial witnesses and/or documents not

19   identified herein but subsequently identified during discovery.

20   A.       Persons With Knowledge

21            At this time, all persons likely to have discoverable information that Prudential may use

22   to support its claims and defenses relating to Plaintiff’s ERISA claim for LTD benefits are

23   contained in the administrative record of Plaintiff’s claim for LTD benefits, which Prudential

24   will produce to Plaintiff. Investigation continues. Prudential reserves the right to rely upon any

25   witnesses identified by the other parties in their disclosures.

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                                                                                    SEYFARTH SHAW LLP
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 1            The following individuals, in addition to Plaintiff and anyone listed in Plaintiff’s Rule

 2   26(a) Initial Disclosures, are likely to have discoverable information that Prudential may use to

 3   support its defenses to Plaintiff’s claim for negligence relating to Prudential’s administration of

 4   Plaintiff’s STD claim, excluding evidence solely for impeachment:

 5            1.     Alicia Richardson, Disability Claims Manager, Prudential, may have knowledge
                     of facts related to Plaintiff’s STD claim, Prudential’s claim handling, and the
 6                   applicable terms of the Group Contract G-43994-WA.
 7            2.     Peggy Perez, Appeals Analyst, Prudential, may have knowledge of facts related to
                     Plaintiff’s STD appeal, Prudential’s appeal handling, and the applicable terms of
 8                   the Group Contract G-43994-WA.

 9            3.     Jacqueline Lopez, Team Lead, Claims, Prudential, may have knowledge of facts
                     related to Plaintiff’s STD claim, Prudential’s claim handling, and the applicable
10                   terms of the Group Contract G-43994-WA.
              4.     Kimberly Cyr, Complex Senior Appeal Specialist, Prudential, may have
11                   knowledge of facts related to Plaintiff’s STD appeal, Prudential’s appeal
                     handling, and the applicable terms of the Group Contract G-43994-WA.
12
              5.     Venus Thompson, R.N., Clinician, Prudential, may have knowledge of facts
13                   related to Plaintiff’s alleged medical conditions and Prudential’s evaluation of the
                     same.
14
              6.     Susan Kelley, R.N., Clinician, Prudential, may have knowledge of facts related to
15                   Plaintiff’s alleged medical conditions and Prudential’s evaluation of the same.
              7.     Jeremy B. Hertza, Psy.D., may have knowledge of facts related to Plaintiff’s
16                   alleged medical conditions and whether Plaintiff has any medically necessary
                     restrictions or limitations as a result of the same. Dr. Hertza may be contacted
17                   through Exam Coordinators Network (ECN), 6111 Broken Sound Parkway NW,
                     Suite 207, Boca Raton, FL 33487, 561-922-5200.
18
              8.     Margaret “Lisa” Frank, M.D., may have knowledge of facts related to Plaintiff’s
19                   alleged medical conditions and whether Plaintiff has any medically necessary
                     restrictions or limitations as a result of the same. Dr. Frank may be contacted
20                   through R3 Continuum, 7825 Washington Ave. S., Suite 500, Bloomington, MN
                     55439 952-927-0184.
21
              9.     Wallace Hodges, M.D., may have knowledge of facts related to Plaintiff’s alleged
22                   medical conditions. Dr. Hodge’s last known address is Better Internal Medicine,
                     901 Boren Ave. #615, Seattle, WA, 98104, 206-467-1457.
23            10.    Robert B. Olsen, M.D., may have knowledge of facts related to Plaintiff’s alleged
                     medical conditions. Dr. Olsen’s last known address is Robert B. Olsen, M.D.,
24                   Inc., 901 Boren Ave. #615, Seattle, WA 98104, 206-622-5455.
25            11.    Diane Schachter, LMFT, may have knowledge of facts related to Plaintiff’s
                     alleged medical conditions. Ms. Schachter’s last known address is 1300 114th
26                   Ave. SE, #104, Bellevue, WA 98004, 425-635-0589.
                                                                                    SEYFARTH SHAW LLP
                                                                                   233 SOUTH WACKER DRIVE
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 1            12.    Clinicians at Naturopathic Psychiatry may have knowledge of facts related to
                     Plaintiff’s alleged medical conditions. Naturopathic Psychiatry’s last known
 2                   address is, 12025 115th Ave. NE, Building D, Suite 200, Kirkland, WA 98034,
                     425-821-1810.
 3
              13.    Clinicians at The Evergreen Clinic may have knowledge of facts related to
 4                   Plaintiff’s alleged medical conditions. The Evergreen Clinic’s last known address
                     is, 12025 115th Ave. NE, Building D, Suite 200, Kirkland, WA 98034, 425-821-
 5                   1810.
              14.    Radka Chapin, Plaintiff’s wife, may have knowledge of facts related to Plaintiff’s
 6                   medical conditions and income. Mrs. Chapin’s last known address is 13720 NE
                     7lst Place, Redmond, WA 98052.
 7

 8            The Prudential employees listed above may be contacted only through Prudential’s

 9   counsel.

10            In addition to the individuals listed above, any individuals identified in materials

11   exchanged during discovery may have discoverable information as to the subjects referenced in

12   those materials. Investigation continues.

13   B.       Relevant Documents

14            As to Plaintiff’s ERISA claim for LTD benefits, at this time, all documents that

15   Prudential has in its possession, custody, or control and that Prudential may use to support its

16   claims or defenses are contained in the administrative record, which Prudential will produce to

17   Plaintiff. Investigation continues. Prudential reserves the right to rely upon any documents

18   identified by the other parties in their disclosures.

19            As to Plaintiff’s negligence claim relating to STD benefits, without waiving any

20   objections to the production of the following documents, including objections based on any

21   privilege, Prudential identifies the following categories of documents it may use to support its

22   defenses (other than solely for impeachment).

23            Documents

24            1.     The claim file for Plaintiff’s claim for Short-Term Disability Benefits and Long-
                     Term Disability Benefits under Group Contract G-43994-WA;
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              2.     Group Contract G-43994-WA and related documents;
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                                                                                     SEYFARTH SHAW LLP
                                                                                    233 SOUTH WACKER DRIVE
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 1            3.     Plaintiff’s medical records, in the possession of his providers or Plaintiff himself;

 2            4.     Plaintiff’s tax returns and other documents showing his earnings;

 3            5.     Any documents in Plaintiff’s possession, custody or control showing his
                     activities, including work activities, during the period of alleged disability;
 4
              6.     Any documents exchanged in discovery; and
 5
              7.     Any documents identified in Plaintiff’s Rule 26(a)(1) initial disclosures.
 6

 7   C.       Damages

 8            Prudential is not seeking damages at this time. Prudential reserves the right to seek its

 9   costs and/or reasonable attorney’s fees consistent with the Federal Rules of Civil Procedure and

10   applicable law in the event it prevails. Investigation continues.

11   D.       Insurance Agreements

12            Prudential does not maintain an insurance policy that may be used to satisfy part or all of

13   a judgment which may be entered in this action, or to indemnify or reimburse Prudential for

14   payments made to satisfy the judgment.

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                                                                                     SEYFARTH SHAW LLP
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     59188888v.4
 1   DATED: September 27, 2019                    Respectfully submitted,

 2                                                SEYFARTH SHAW LLP

 3

 4                                                By: /s/ Shelley R. Hebert
                                                      Amanda A. Sonneborn (admitted pro hac
 5                                                    vice)
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 6                                                    Shelley R. Hebert (admitted pro hac vice)
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14                                                       Seattle, WA 98111-9402
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15                                                       FAX: 206-203-7107
16                                                       Attorneys for Defendant
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                                                                                  (312) 460-5000
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 1                                   CERTIFICATE OF SERVICE

 2            Pursuant to RCW 9A.72.085, the undersigned certifies under penalty of perjury under the

 3   laws of the state of Washington and the United States, that on the 27th day of September, 2019,

 4   she caused a copy of the foregoing RULE 26(a)(1) INITIAL DISCLOSURES to be served upon

 5   all counsel of record via U.S Mail, postage pre-paid, and electronic mail:

 6                   McKean J. Evans
                     Isaac Ruiz
 7
                     Plaintiff Litigation Group, PLLC
 8                   95 S. Jackson Street, Suite 100
                     Seattle, WA 98104
 9                   Tel. 206-203-9100
                     Fax 206-785-1702
10                   mevans@plaintifflit.com
11                   iruiz@plaintifflit.com

12                   Rebecca J Francis
                     Davis Wright Tremaine
13                   920 Fifth Ave., Suite 3300
                     Seattle, WA 98104-1610
14                   Tel. 206-622-3150
                     Fax: 206-757-7700
15
                     RebeccaFrancis@dwt.com
16
                                                                 /s/ Shelley R. Hebert
17                                                               Shelley R. Hebert

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